




02-12-034 &amp; 035-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT
  OF APPEALS
  SECOND
  DISTRICT OF TEXAS
  FORT
  WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00035-CR

&nbsp;

&nbsp;









 
  
  Eddie Calvin Dorris, II
  &nbsp;
  &nbsp;
  &nbsp;
  v.
  &nbsp;
  &nbsp;
  &nbsp;
  The State of Texas
  
  
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  
  
  From the 396th
  District Court
  &nbsp;
  of Tarrant County (1161027D)
  &nbsp;
  February 14, 2013
  &nbsp;
  Opinion by Justice McCoy
  &nbsp;
  (nfp)
  
 


&nbsp;

JUDGMENT

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This court has considered
the record on appeal in this case and holds that there was no error in the
trial court’s judgment.&nbsp; It is ordered that the judgment of the trial court is
affirmed. 

&nbsp;

SECOND
DISTRICT COURT OF APPEALS 








&nbsp;

&nbsp;

&nbsp;

&nbsp;

By_________________________________

&nbsp;&nbsp;&nbsp; Justice Bob McCoy

&nbsp;








&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;


 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT
  OF APPEALS
  SECOND
  DISTRICT OF TEXAS
  FORT
  WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00034-CR
NO. 02-12-00035-CR

&nbsp;

&nbsp;


 
  
  EDDIE CALVIN DORRIS, II
  
  
  &nbsp;
  
  
  APPELLANT
  
 


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

V.

&nbsp;


 
  
  THE
  STATE OF TEXAS
  
  
  &nbsp;
  
  
  STATE
  
 


&nbsp;

&nbsp;

------------

&nbsp;

FROM THE 396TH DISTRICT COURT OF TARRANT COUNTY

&nbsp;

------------

&nbsp;

MEMORANDUM OPINION[1]

&nbsp;

------------

Appellant Eddie Calvin Dorris II
appeals his two convictions for assault after the trial court revoked his
deferred adjudication community supervision, adjudicated him guilty of both
offenses, and sentenced him to ten years’ confinement in each case concurrently
but consecutive to his sentence for a third assault conviction.

Dorris’s court-appointed appellate
counsel has filed a motion to withdraw as counsel and a brief in support of
that motion.&nbsp; Counsel’s brief and motion meet the requirements of Anders v.
California by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds for relief.&nbsp; 386 U.S. 738, 87
S. Ct. 1396 (1967).&nbsp; Dorris had the opportunity to file a pro se brief and has
done so; the State has not filed a brief.

Once an appellant’s court-appointed
attorney files a motion to withdraw on the ground that the appeal is frivolous
and fulfills the requirements of Anders, this court is obligated to
undertake an independent examination of the record.&nbsp; See Stafford v. State,
813 S.W.2d 503, 511 (Tex. Crim. App. 1991); Mays v. State, 904 S.W.2d
920, 922–23 (Tex. App.—Fort Worth 1995, no pet.).&nbsp; Only then may we grant
counsel’s motion to withdraw.&nbsp; See Penson v. Ohio, 488 U.S. 75, 82–83,
109 S. Ct. 346, 351 (1988).

We have carefully reviewed the record,
counsel’s brief, and Dorris’s pro se brief.&nbsp; We agree with counsel that this
appeal is wholly frivolous and without merit; we find nothing in the record
that might arguably support the appeal.&nbsp; See Bledsoe v. State, 178
S.W.3d 824, 827–28 (Tex. Crim. App. 2005); see also Meza v. State, 206
S.W.3d 684, 685 n.6 (Tex. Crim. App. 2006).&nbsp; Accordingly, we grant counsel’s
motion to withdraw and affirm the trial court’s judgment.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; BOB
MCCOY

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUSTICE

&nbsp;

PANEL:&nbsp; LIVINGSTON, C.J.;
MCCOY and GABRIEL, JJ.

&nbsp;

DO NOT PUBLISH

Tex. R. App. P. 47.2(b)

&nbsp;

DELIVERED:&nbsp; February 14, 2013









[1]See
Tex. R. App. P. 47.4.







